 Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.1 Filed 09/08/08 Page 1 of 16




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

                                                     )
JPMORGAN CHASE BANK, N.A.,                           )
                                                     )      HON.
Plaintiff,                                           )
                                                     )      Case No.
v.                                                   )
                                                     )
LARRY J. WINGET and the                              )
LARRY J. WINGET LIVING TRUST                         )
                                                     )
Defendants.                                          )
                                                     )

                                          COMPLAINT

               Plaintiff JPMorgan Chase Bank, N.A., as Administrative Agent ("Agent"), states

the following for its Claims against Larry J. Winget ("Winget") and the Larry J. Winget Living

Trust ("Winget Trust").

                                     NATURE OF ACTION

               1.       These Claims are brought by the Agent against Winget and the Winget

Trust for enforcement of a guaranty and two pledge agreements entered into by Winget and the

Winget Trust in 2002.

                                         THE PARTIES

               2.       Plaintiff JPMorgan Chase Bank, N.A. is a bank organized and operated as

a national association, with its main office in Columbus, Ohio.

               3.       Defendant Larry J. Winget is a resident of Michigan.

               4.       Defendant the Larry J. Winget Living Trust is a trust organized under the

laws of Michigan. Defendant Larry J. Winget is the trustee of the Larry J. Winget Living Trust.
 Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.2 Filed 09/08/08 Page 2 of 16




                                JURISDICTION AND VENUE

              5.      This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. § 1332 (Diversity). Plaintiff and Defendants are citizens of different States and the

amount in controversy exceeds the sum of $75,000, exclusive of interest and costs.

              6.      Venue is proper in this District pursuant to 28 U.S.C. § 1391.

                                       BACKGROUND

              7.      JPMorgan Chase Bank merged with Bank One, NA in 2004 to form

JPMorgan Chase Bank, N.A., which succeeded to Bank One, NA's rights in regard to the

agreements described herein among Bank One, NA, Winget and the Winget Trust.

              8.      Bank One, NA served as Administrative Agent for a group of lenders

("Senior Lenders") that extended credit to Venture Holdings Company, LLC (n/k/a NM

Holdings Company, LLC) ("Venture"), a Michigan limited liability company, under a Credit

Agreement that was entered into on May 27, 1999 and that was subsequently amended eight

times ("Credit Agreement"). A copy of the Credit Agreement, with all amendments, is in the

possession of the Defendants.

              9.      At all times relevant, Venture was owned and controlled by Winget and/or

the Winget Trust. Venture and its direct and indirect wholly owned U.S. subsidiaries Vemco,

Inc. (n/k/a NM Emco, Inc.), Venture Industries Corporation (n/k/a NM Industries Corporation),

Venture Mold & Engineering Corporation (n/k/a NM Mold & Engineering Corporation),

Venture Leasing Company (n/k/a NM Old Leasing Company), Vemco Leasing, Inc. (n/k/a NM

Nemco Leasing, Inc.), Venture Holdings Corporation (n/k/a NM Holdings Corporation), Venture

Service Company (n/k/a NM Service Company), Experience Management LLC (n/k/a NM Exp




                                               -2-
 Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.3 Filed 09/08/08 Page 3 of 16




LLC), Venture Europe, Inc. (n/k/a NM Europe, Inc.), and Venture EU Corporation (n/k/a NM

EU Corporation) (collectively, "the Venture Debtors") were engaged in the business of

developing and manufacturing auto parts for use by certain original equipment manufacturers.

               10.    Each of the Venture Debtors guaranteed the obligations of Venture under

the Credit Agreement. Repayment of the obligations under the Credit Agreement and the

guarantees is secured by a pledge of substantially all of the assets and properties of the Venture

Debtors pursuant to the Security Agreement dated May 27, 1999 (as amended, restated or

otherwise modified, "Venture Security Agreement"). The Defendants are in possession of a copy

of the Venture Security Agreement.

               11.    On March 28, 2003, each of the Venture Debtors commenced cases under

Chapter 11 of Title 11 of the United States Code ("Bankruptcy Code") by filing duly authorized

bankruptcy petitions commencing bankruptcy cases in the United States Bankruptcy Court for

the Eastern District of Michigan, Southern Division ("Bankruptcy Court"). On January 17, 2006,

the Venture Debtors' Chapter 11 cases were converted to Chapter 7 cases under the Bankruptcy

Code and a Chapter 7 Trustee was appointed ("Venture Chapter 7 Trustee").

               12.    In addition to the Venture Debtors, Winget and/or the Winget Trust own

and/or control numerous other entities, including Deluxe Pattern Corporation ("Deluxe") and

certain of its affiliates, including Venture Heavy Machinery Limited Liability Company, Venture

Equipment Acquisition Company, Venture Real Estate Acquisition Company, Realven

Corporation, Venture Real Estate, Inc., Venture Automotive Corp., and Farm and Country Real

Estate (with Deluxe, collectively the "Deluxe Debtors" and with the Venture Debtors,

"Debtors"). On May 24, 2004, each of the Deluxe Debtors commenced cases under Chapter 11

of the Bankruptcy Code by filing duly authorized bankruptcy petitions in the Bankruptcy Court.


                                               -3-
 Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.4 Filed 09/08/08 Page 4 of 16




On January 30, 2008, the Deluxe Debtors' Chapter 11 cases were converted to Chapter 7 cases

under the Bankruptcy Code and a Chapter 7 Trustee was appointed ("Deluxe Chapter 7

Trustee").

               13.    Among the other entities owned and controlled by Winget and/or the

Winget Trust are P.I.M. Management Co. ("P.I.M."), a Michigan corporation, and Venco #1,

L.L.C. ("Venco"), a Michigan limited liability company.

               14.    On October 21, 2002, pursuant to the eighth amendment to the Credit

Agreement ("8th Amendment"), Winget and the Winget Trust entered into a guaranty of

payment in favor of the Agent ("Guaranty," attached hereto as Exhibit A), wherein Winget and

the Winget Trust guaranteed the obligations of Venture under the Credit Agreement and secured

payment of those obligations. In addition, in connection with the 8th Amendment, the Deluxe

Debtors guaranteed the obligations of Venture under the Credit Agreement and secured those

obligations by pledging to the Agent substantially all of their assets and property pursuant to the

Security Agreement dated October 21, 2002 ("Deluxe Security Agreement" and with the Venture

Security Agreement, "Security Agreements"). The Defendants are in possession of a copy of the

Deluxe Security Agreement.

               15.    Under the terms of the Guaranty (at § 3), Winget's obligations as guarantor

can be satisfied through recourse to stock, including stock in P.I.M. and Venco, that was pledged

by Winget and the Winget Trust in two pledge agreements dated October 21, 2002 (hereinafter,

"Winget/ P.I.M. Pledge Agreement," and "Winget/Venco Pledge Agreement," attached hereto as

Exhibits B and C and hereinafter, collectively, "Pledge Agreements").




                                                -4-
 Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.5 Filed 09/08/08 Page 5 of 16




               16.     Pursuant to Section 7.6 of the Credit Agreement, the commencement of

the bankruptcy cases by the Venture Debtors constituted a Default as defined thereunder. As a

result of this Default and others, pursuant to Section 8.1(a) of the Credit Agreement, all

Obligations as defined in the Credit Agreement became immediately due and payable without

presentment, demand, protest or notice of any kind.

               17.     On January 7, 2005, the Debtors filed their Motion for (A) Entry of an

Order, Pursuant to 11 U.S.C. §§ 105 and 363 and Fed. R. Bankr. P. 2002 and 6004 (i) Approving

Bid Procedures for the Potential Sale of Substantially All of the Debtors' Assets, (ii) Approving

Notice Procedures Regarding the Proposed Sale, and (iii) Scheduling a Hearing Date to Consider

the Sale, and (B) Entry of an Order, after the Sale Hearing, Pursuant to 11 U.S.C. §§ 105(a), 363,

365 and 1146 and Fed. R. Bankr. P. 6004 and 6006, (i) Authorizing the Debtors to Sell

Substantially All of Their Assets, (ii) Authorizing the Debtors to Assume and Assign Certain

Executory Contracts and Unexpired Leases, and (iii) Granting Related Relief ("Sale Procedures

Motion"). The Sale Procedures Motion was granted by an order of the Bankruptcy Court dated

February 1, 2005 ("Sales Procedure Order").

               18.     Pursuant to the Sale Procedures Order, the Debtors solicited offers from

various potential purchasers, including the Agent on behalf of the Senior Lenders, for the sale of

substantially all of the Debtors' assets. As a result of this solicitation process and pursuant to the

express authority set forth in the Sale Procedures Order, New Venture Holdings, LLC ("New

Venture"), a company established by certain of the Senior Lenders to purchase the Debtors'

assets, submitted a combined cash and credit bid to the Debtors. The Debtors, in the exercise of

their business judgment, determined that New Venture's bid was the highest and best offer

received for the sale of their assets and agreed to sell substantially all of their assets to New


                                                 -5-
 Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.6 Filed 09/08/08 Page 6 of 16




Venture pursuant to the terms of an Asset Purchase Agreement with New Venture (the "Sale").

On April 19, 2005, the Bankruptcy Court approved the Sale and the terms of the Asset Purchase

Agreement dated as of April 8, 2005 among New Venture and the Debtors ("APA"), and on May

2, 2005, the Sale closed.

               19.     Pursuant to the APA, New Venture acquired all the assets and properties

of the Debtors, other than those specific assets and properties excluded from the sale pursuant to

the terms of the APA ("Excluded Assets"). Immediately after the closing of the Sale, the amount

of the unpaid indebtedness owed to the Senior Lenders under the Credit Agreement, excluding

interest, fees and costs, was $376,312,449.09.

               20.     After the closing of the Sale, the Debtors no longer engaged in any

ongoing business operations and only Excluded Assets remained in the Debtors' estates. The

Excluded Assets consisted primarily of claims and causes of action against Winget and persons

and entities owned by or affiliated with Winget, together with miscellaneous assets including

certain tax refunds and two parcels of real property.

               21.     Subsequent to the Sale, the Agent has taken steps to collect the Excluded

Assets that constitute "Collateral" as defined in the Security Agreements, as follows:

                       (a)     On May 19, 2005, Venture Holdings Corporation sold the real

property located in Seabrook, New Hampshire. The Agent, on behalf of the Senior Lenders,

realized $13,882,131.17 as a result of this sale.

                       (b)     The Venture Chapter 7 Trustee received a distribution from

Peguform UK Limited ("Peguform"), a non-debtor affiliate of the Venture Debtors in connection

with Peguform's liquidation. This distribution ("Peguform Distribution") was made by Peguform



                                                    -6-
 Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.7 Filed 09/08/08 Page 7 of 16




on account of intercompany receivables held by the Venture Debtors against Peguform. The

Venture Debtors received a payment on account of a settlement with Valeo, a French

organization ("Valeo Settlement"). The Venture Chapter 7 Trustee refused to turn over the

Peguform Distribution and the Valeo Settlement to the Agent. On July 21, 2006, the Agent filed

the Motion of the Agent Pursuant to 11 U.S.C. §§ 362 and 105 for Relief from the Automatic

Stay ("Lift Stay Motion") to compel, among other things, the turn over of the Peguform

Distribution and Valeo Settlement to the Agent. On September 19, 2006, the Bankruptcy Court

entered an order granting the Lift Stay Motion and directing the Venture Chapter 7 Trustee to

immediately turn over the Peguform Distribution and the Valeo Settlement to the Agent. On

October 16, 2006, the Venture Chapter 7 Trustee turned over to the Agent $3,452,183.58, which

constituted the Peguform Distribution and the Valeo Settlement.

                      (c)    Tax refunds have been collected by the Venture Chapter 7 Trustee

in the current amount of $605,000. Pursuant to the terms of that certain NM Holdings/Deluxe

Pattern Settlement Agreement dated June 6, 2007 and approved by order of the Bankruptcy

Court on September 13, 2007 ("NM/Deluxe Settlement Agreement"), the Venture Chapter 7

Trustee is obligated to turn over the tax refunds to the Agent upon written notice by the Agent.

The Venture Chapter 7 Trustee has indicated that an additional $600,000 in tax refunds may be

available.

                      (d)    The Venture Chapter 7 Trustee has marketed two contiguous

parcels of real property located in Portland, Indiana. These marketing efforts resulted in a

purchase agreement approved by the Bankruptcy Court on May 4, 2005 for the sale of the

Portland, Indiana property which would have resulted in a net recovery to the Agent on behalf of

the Senior Lenders of approximately $250,000 before fees and costs. The potential purchaser did


                                              -7-
 Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.8 Filed 09/08/08 Page 8 of 16




not close under the purchase agreement and the real property remains unsold. As of January 4,

2004, the appraised value of the Portland, Indiana property was $900,000 which appraisal

assumed an 18 month marketing period and did not take into consideration any environmental

issues on the property. Despite the continuing efforts of the Venture Chapter 7 Trustee, only

minimal (if any) value from the Portland, Indiana property will be realized.

                      (e)     A judgment in the amount of $36,263,015 has been obtained by

Venture as a result of litigation against Autoliv, ASP ("Autoliv Judgment").         The Autoliv

Judgment is currently the subject of an interpleader action pending before this Court. Subject to

the legitimate claims of other interpleader claimants (only one of which remains to be

determined in the pending interpleader action), the Agent on behalf of the Senior Lenders is

entitled to the balance of the amount of the Autoliv Judgment, pursuant to the terms of the

Security Agreements. On December 10, 2007, this Court entered an order authorizing the

distribution of $5,000,000 of the Autoliv Judgment to the law firm of Drew Cooper & Anding.

On May 21, 2008, this Court entered a stipulated order authorizing the distribution of

$10,046,807.30, the then undisputed portion of the Autoliv Judgment, to the Agent for the

benefit of the Senior Lenders. On August 22, 2008, this Court concluded that Winget has no

actionable claim to any portion of the Autoliv Judgment and dismissed Winget's claim in the

interpleader action. With the dismissal of Winget's claim, only one claim remains open in the

interpleader action aside from the Agent's undisputed security interest. That claim seeks only

$7,283,696.70 of the $21,171,675.70 that remains subject to the interpleader action. On August

26, 2008, the Agent filed a motion for a second interim distribution of the settled portion of the

Autoliv Judgment requesting distribution to the Agent of $13,887,979, the now uncontested

portion of the Autoliv Judgment.



                                               -8-
 Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.9 Filed 09/08/08 Page 9 of 16




                     (f)    The Deluxe Debtors have brought claims against Winget and

certain entities owned by or affiliated with Winget in the face amount of $39,747,034.39

("Deluxe Claims"). The Deluxe Claims constitute "Collateral" as defined in the Deluxe Security

Agreement. The Deluxe Claims are pending in the Bankruptcy Court and are being pursued by

the Deluxe Chapter 7 Trustee. The Agent previously funded the fees and expenses of the Deluxe

Debtors in pursuing the Deluxe Claims and anticipates continuing to fund the Deluxe Chapter 7

Trustee's continued pursuit of such claims. Pursuant to the terms of the NM/Deluxe Settlement

Agreement, the Agent has the right to direct and control the prosecution of the Deluxe Claims.

The amount of recovery on the Deluxe Claims is speculative.

                     (g)    Other claims and causes of action have been brought by the

Venture Debtors (and continued by the Venture Chapter 7 Trustee) against Winget and his

affiliates. These claims are currently pending in the Bankruptcy Court. Depending upon the

outcome of such litigation, the Agent on behalf of the Senior Lenders may have a security

interest in some or all of the proceeds recovered by the Venture Chapter 7 Trustee pursuant to

the terms of the Venture Security Agreement. The amount of recovery on these claims is

speculative.

               22.   In summary:

                          Substantially all assets of the Deluxe and Venture Debtors have been

                           sold pursuant to 11 U.S.C. § 363;

                          The real property located in Seabrook, N. H. has been sold;

                          Proceeds of the Peguform Distribution and Valeo Settlement have

                           been turned over to the Agent;



                                              -9-
Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.10 Filed 09/08/08 Page 10 of 16




                            The Venture Tax Refunds will be turned over to the Agent upon

                             written notice;

                            Unsuccessful attempts to sell the Portland, Indiana, real property

                             establish that its market value is negligible;

                            Recovery of the Autoliv Judgment is being pursued by the Agent in

                             the Interpleader action;

                            The Deluxe Claims against Winget and certain entities affiliated with

                             Winget are being pursued by the Deluxe Chapter 7 Trustee, with the

                             Agent having the right to direct and control the prosecution of such

                             claims pursuant to the NM/Deluxe Settlement Agreement;

                            The Venture Claims against Winget and certain entities affiliated

                             with Winget are being pursued by the Venture Chapter 7 Trustee; the

                             amount of the Agent's recovery is speculative.

               23.     Despite these collection efforts, the Agent and the Senior Lenders

continue to hold a claim against the Debtors' estates consisting of those amounts still due and

owing under the Credit Agreement. As of the date hereof, assuming all Excluded Assets which

constitute Collateral and which are not speculative as to recovery are realized upon, the amount

of the unpaid indebtedness owed to the Senior Lenders under the Credit Agreement will exceed

$321,690,000.00, not including interest, fees and costs.

   COUNT I – ENFORCEMENT OF GUARANTY AGAINST THE WINGET TRUST

               24.     Plaintiff restates and realleges the allegations set forth in Paragraphs 1

through 23 above, as if set out in full herein.



                                                  -10-
Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.11 Filed 09/08/08 Page 11 of 16




                25.    Pursuant to Section 3 of the Guaranty, the Winget Trust absolutely and

unconditionally guaranteed the full and punctual payment and performance of the Secured

Obligations as defined in the Credit Agreement (and also defined as the "Guaranteed

Obligations" in the Guaranty).

                26.    Venture has failed to pay punctually the Secured Obligations, and the

Secured Obligations (in an amount in excess of $321 million) remain due and owing to the Agent

and the Senior Lenders.

                27.    The Agent has complied with all of its obligations under the Guaranty.

Further, under Section 4 of the Guaranty, the Winget Trust agreed that its obligations under the

Guaranty would not be released, discharged or otherwise affected by, among other things: any

action or failure to act by the Agent with respect to any collateral securing all or any part of the

Guaranteed Obligations; the existence of any claim, setoff or other rights which the Winget Trust

may have at any time against the Agent, any Senior Lender or any other person; or any other act

or omission to act or delay of any kind by the Agent, any Senior Lender or any other person.

                28.    Section 17 of the Guaranty provides that the Winget Trust agrees to pay

all costs and expenses, including, without limitation, all court costs and attorneys' fees and

expenses paid or incurred by the Agent or any Senior Lender or any Affiliate of any Senior

Lender in prosecuting any action against the Winget Trust with respect to its obligations under

the Guaranty.

                WHEREFORE, the Agent respectfully requests:




                                               -11-
Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.12 Filed 09/08/08 Page 12 of 16




               A.      entry of an order granting judgment against the Winget Trust and in favor

of the Agent (on behalf of the Senior Lenders) in the full amount of the Guaranteed Obligations

that remain unpaid as of the date of judgment, in an amount to be proven at trial;

               B.      an award of attorneys' fees and costs as authorized and required under

Section 17 of the Guaranty;

               C.      entry of an order providing that the Court will retain jurisdiction for the

purpose of supervising enforcement of the Guaranty and disposition of any collateral pursuant

thereto; and

               D.      such other relief as the Court deems just.

           COUNT II – ENFORCEMENT OF GUARANTY AGAINST WINGET

               29.     Plaintiff restates and realleges the allegations set forth in Paragraphs 1

through 28 above, as if set out in full herein.

               30.     Pursuant to Section 3 of the Guaranty, Winget absolutely and

unconditionally guaranteed the full and punctual payment and performance of the Secured

Obligations as defined in the Credit Agreement (and also defined as the "Guaranteed

Obligations" in the Guaranty).

               31.     Venture has failed to pay punctually the Secured Obligations, and the

Secured Obligations (in an amount in excess of $321 million) remain due and owing to the Agent

and the Senior Lenders.

               32.     The Agent has complied with all of its obligations under the Guaranty.

Further, under Section 4 of the Guaranty, Winget agreed that his obligations under the Guaranty

would not be released, discharged or otherwise affected by, among other things: any action or


                                                  -12-
Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.13 Filed 09/08/08 Page 13 of 16




failure to act by the Agent with respect to any collateral securing all or any part of the

Guaranteed Obligations; the existence of any claim, setoff or other rights which Winget may

have at any time against the Agent, any Senior Lender or any other person; or any other act or

omission to act or delay of any kind by the Agent, any Senior Lender or any other person.

               33.    With respect to Winget, Section 3 of the Guaranty provides that any

judgment for repayment of the Guaranteed Obligations will be enforced only with respect to

stock pledged in accordance with the provisions of certain related pledge agreements, including

the Pledge Agreements pertaining to P.I.M. and Venco.

               34.    Section 17 of the Guaranty provides that Winget agrees to pay all costs

and expenses, including without limitation, all court costs and attorneys' fees and expenses paid

or incurred by the Agent or any Senior Lender or any Affiliate of any Senior Lender in

prosecuting any action against Winget with respect to his obligations under the Guaranty.

               WHEREFORE, the Agent respectfully requests:

               A.     entry of an order granting judgment against Winget and in favor of the

Agent (on behalf of the Senior Lenders) in the full amount of the Guaranteed Obligations that

remain unpaid as of the date of judgment, in an amount to be proven at trial, such judgment to be

enforced against Winget only with respect to the stock pledged in accordance with the pledge

agreements as referenced in the Guaranty and as set forth in Count III of this Complaint;

               B.     entry of an order providing that the Court will retain jurisdiction for the

purpose of supervising enforcement of the Guaranty and disposition of any collateral pursuant

thereto;




                                              -13-
Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.14 Filed 09/08/08 Page 14 of 16




               C.      an award of attorneys' fees and costs as authorized and required under

Section 17 of the Guaranty; and

               D.      such other relief as the Court deems just.

                  COUNT III – ENFORCEMENT OF PLEDGE
            AGREEMENTS AGAINST WINGET AND THE WINGET TRUST

               35.     Plaintiff restates and realleges the allegations set forth in Paragraphs 1

through 34 above, as if set out in full herein.

               36.     A "Default" has occurred within the meaning of Section 5.1 of each of the

Pledge Agreements.

               37.     Section 5.2 of each of the Pledge Agreements permits the Agent,

following the occurrence of a Default, to exercise the remedies provided in the Pledge

Agreements and under applicable law.          Section 6 of each of the Pledge Agreements and

applicable law provide that all remedies of the Agent are cumulative and may be exercised

simultaneously.

               38.     Subject to the provisions of Section 5.2 of each of the Pledge Agreements

(described below), the Agent is entitled to registration of the Collateral (as defined in the Pledge

Agreements) in the name of the Agent or its nominee, to exercise all voting and corporate rights

relating to the Collateral, to take possession or control of the Collateral, and/or to foreclose and

enforce its security interest in the Collateral and dispose of the Collateral pursuant to applicable

law.

               39.     Pursuant to Section 7.7 of each of the Pledge Agreements, Winget and the

Winget Trust agreed that the Agent's rights to registration of the Collateral and to exercise voting



                                                  -14-
Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.15 Filed 09/08/08 Page 15 of 16




and corporate rights as to the Collateral are specifically enforceable against Winget and the

Winget Trust.

                  40.    Each of the Pledge Agreements contains the following language in Section

5.2 thereof:

                  the Agent shall not exercise any rights or remedies under [the]
                  Pledge Agreement until all reasonable efforts shall have been made
                  by it to collect the Obligations from other collateral held by the
                  Agent . . ., it being intended that the Collateral provided by [the]
                  Pledge Agreement shall be realized upon by the Agent only as a
                  last resort.

                  (Exs. B and C, § 5.2.)

                  41.    The Agent has made all reasonable efforts to collect the Obligations from

the other collateral.

                  42.    The Agent's obligations under Section 5.2 of the Pledge Agreements have

been satisfied.

                  WHEREFORE, the Agent respectfully requests:

                  A.     entry of an order granting judgment against Winget and the Winget Trust

and in favor of the Agent (on behalf of the Senior Lenders) requiring registration of the

Collateral in the name of the Agent or its nominee and permitting the Agent to exercise all voting

and corporate rights relating to the Collateral;

                  B.     entry of judgment against Winget and the Winget Trust and in favor of the

Agent (on behalf of the Senior Lenders) granting possession and control of the Collateral;




                                                   -15-
Case 2:08-cv-13845-DML-MJH ECF No. 1, PageID.16 Filed 09/08/08 Page 16 of 16




                      C.   entry of an order providing that the Court will retain jurisdiction for the

purpose of supervising enforcement of the Pledge Agreements and disposition of any Collateral

pursuant thereto;

                      D.   an award of attorneys' fees and costs; and

                      E.   such other relief as the Court deems just.

September 8, 2008                                         Respectfully submitted,



                                                          /s/ William T. Burgess
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